                Case 2:15-cr-01515-RB Document 450-9 Filed 06/15/18 Page 1 of 1


                                                                    Linesheet                                                     User:     Janett Rios



 Case:        MS-14-0093           Target:                                  Llne:                   20214          File Number:

      n        ts
 tuO: VOICEMAIL BOX lS NOT SET UP YET
 CR1


Session:              142                    Date:                12105t2014        Classiflcatlon: Non-Pertinent         Duration:    00:00:36
Illonitored    By:    carmenr                Start Tlme:          18:01:05 MST      Complete:          Not Completed      Dlrectlon:   lncoming
In   Digits:          5755374000             Asscoclate Number:   (575) 5374000     Partlclpants:      PADILLA,TOBY


   o ts
 VOICEMAIL REACHED; NO MESSAGE LEFT
 cR1


Session:              143                    Date:                12105t2014        Classlfi   catlon: Non-Pertinent      Duration:    00:00:35
Monltored By:                                Start Tlme:          18:01:05 MST      Complete:          Not Completed      Dlrection:   lncoming
ln   Digits:          5755374000             Asscoclate Number:   (575) 537-4000    Partlcipants:      PADILLA,TOBY


Synopsis
 GHOST CALL
 CR1




Sesslon:              '144                   Date:                12t0512014        Classiflcation: Pertinent             Duration:    00:02:33
Monitored     By:     carmenr                Start Time:          '19:39:02 MST     Complete:          Completed          Dlrec{ion:   Outgoing
Out   Dlglts:         5759567105             Asscociate Number:   (575) 956-7105    Participants:      JOHN
                                                                                                       PADILLA, TOBY


              ls
 TOBY TO JOHN
 [NOTE: TOBY lD'D JOHN]
 PARTIES GREETED. TOBY ASKED ABOUT THE FOOD [NFt]. JOHN REpLtED THAT JOHN HAD
 ABOUT 5 [NFl] HERE. TOBY ACKNOWLEDGED. TOBY MENTTONED THAT ETTHER TOBY OR
 FREDDY WOULD STOP BY FOR lT [NFl]. TOBY MENTTONED THAT HE (TOBY) HAD TO GIVE THAT
 lNFllovER To DAN. JOHN ACKNOWLEDGED. TOBY EXPLATNED THAT tN ORDER TO RE-UP [NFl]
 AGAIN. JOHN ACKNOWLEDGED AND ASKED IF TOBY HAD HEARD ABOUT THAT ATM THAT HAD
 GOTTEN STOLEN HERE IN TOWN. TOBY NEGATED AND ASKED WHAT HAD HAPPENED.
 JOHN MENTIONED THAT THEY [UNK] HAD STOLEN AN ATM RIGHT OUT OF A STORE. TOBY
 ASKED IF HERE lN SILVER CITY. JOHN EXPLAINED THAT THEY TUNKJ HAD TOWED lT (ATM) DOVVN
 THE ROAD, HIT A COUPLE OF CARS WTH IT (ATM) AND HAD TAKEN IT ALL THE WAY TO THEIR
 TUNKJ HOUSE. JOHN ASKED IF TOBY KNEW WHO KAry WAS AND ADDED THE TALL GIRL. TOBY
 AFFIRMED. JOHN MENTIONED THAT tr HAD BEEN HER (KATn AND SOMEBODY ELSE IUNKI.
 TOBYACKNOWLEDGED AND MENTIONED THAT IT WAS RETARDED TO DRIVE THE ATM ALL THE

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                                                                                                             E
                                                                                                                       EgtBtT

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                                                                          U.S. v. Jacquez et al. (linesheets                ) 1321
07 11612015     1 1   :50:38 MDT                                                                                                       41 of870
